Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 1 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 2 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 3 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 4 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 5 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 6 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 7 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 8 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 9 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 10 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 11 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 12 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 13 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 14 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 15 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 16 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 17 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 18 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 19 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 20 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 21 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 22 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 23 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 24 of 32
      Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 25 of 32




I am writing this letter on behalf of Catherine Pugh who I have known
and watched for more than 20 years as a member of Bethel AME
Church and as a Public Servant. She has always displayed a very
disciplined, organized, and spiritual lifestyle. She is a compassionate
person who cares about the people and community she serves. As the
Mayor of Baltimore she implemented and initiated awesome programs
to help the police department, housing authority, public works,
department, BCPSS, and so many other infrastructures that made the
city work a little better under her leadership. Catherine Pugh has
shown great leaders, great leadership ability, excellent character, and
has gone far above and beyond her duties to make Baltimore City a
more livable, employable, workable city to compete and thrive in.
Catherine Pugh is leadership at its best and absolutely unparalleled to
many others. She holds us all to high standards of excellence.



Sincerely Yours,



Rosalyn Crosby
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 26 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 27 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 28 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 29 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 30 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 31 of 32
Case 1:19-cr-00541-DKC Document 25 Filed 02/21/20 Page 32 of 32
